pnos.iz Case 2:02-cr-20151-STA Document 828 Filed 06/09/05 Page 10f3
(Rev.3/88)

 

 

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UNITED sTArEs nIsTRICT COURT :’§"a??\ 5 a
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wEsTERN DISTRICT 0F TENNESSEE Y,;£§` §§ g
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MEMPHIS DrvrsroN `” /,,.
U.S.A. vs. TERRELL GREEN Docket No.

2:02CR20151-001
Petition nn Probation and Supervised Release

 

COMES NOW NICOLE D. PETERSON PROBATION OFFICER OF THE COURT presenting an
official report upon the conduct and attitude ofTerrell Green Who Was placed on supervision by the Honorable Julia

Srnith Gibbons sitting in the Court at Memphis, TN on the M day of Janua;y, 2003 Who fixed the period of
supervision at three 131 years*, and imposed the general terms and conditions theretofore adopted by the Court and
also imposed special conditions and terms as follows:

l.

The defendant shall submit to substance abuse testing and treatment as deemed appropriate by the Probation
OHicer.

The defendant shall undergo mental health counseling as deemed appropriate by the Probation Ocher.

The defendant shall pay restitution in the amount of $306,104.32. (Balance $306,104.32)
* Terrn of Supervised Release began October 10, 2004.

RESPECTFULLY PRESENTING PE'I`ITION FOR ACTION OF COURT F()R CAUSE AS FOLLOWS'.

Afcer reviewing Terrell Green’s monthly income and necessary expenses, it appears that ten percent (l O%) of his
monthly gross income is an appropriate payment plan.

PRAYING THAT THE COURT WILL ORDER that Terrell Green’S restitution payments be set at ten percent
(10%) of his monthly gross income.

  
 

ORDER OF COURT Respectfully,
CP` _ ,
Qgr_i_sidered and o dered this cl day MK@//.L_QTY_,`
of , 20@ and ordered Bled and Nicole D. Peterson
made a in the above case.

 

U.S. Probation Officer

‘ ` Place Memphisq Tennessee
@ States District Judge

This doctment entered on the docket sheet imcpcr)np\ian§ate Mav 271 2005

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 828 in
case 2:02-CR-20151 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

